                                                                                 CLERK'S OFFICE U.S. DIST. COURT
                                                                                         AT ROANOKE, VA       '
                                                                                       .      FILED

                         IN THE UNITED STATES DISTRICT COURT ·                             JUN 2 8 2019
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION
                                                                                     BY:
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JOHNDOE,                                      ) .
                                              )
       Plaintiff,                             )         Civil Action No. 3:19CV00038
                                              )
~                                             )         ORDER
                                )
THE RECl'OR AND VISITORS OF THE )                      .By: Hon. Glen E. Conrad
UNIVERSITY OF VIRGINIA, et al., )                       Senior United States District Judge
                                )
       Defendants.                            )


      . For the reasons stated in the accompanying memorandum opinion, it is hereby

                                             ORDERED
that the plaintiffs motion for temporary restraining order and preliminary injunction is

GRANTED IN PART. The defendants are enjoined from proceeding._with the Review Panel
                                                                                              I


Hearing currently schedUled for Monday, July 1, 2019. The Review Panel Hearing shall be.

stayed pending further order of the court.

       The Clerk is directed to send copies of this order and the accompanying memorandum

opinion to all counsel of record.
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       DATED: This E_ day of June, 2019.




                                                    Senior United States District Judge




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